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                             IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF DELAWARE

    In re:
    CENTER CITY HEALTHCARE, LLC D/B/A                              Chapter 11
    HAHNEMANN UNIVERSITY HOSPITAL, et
    al.,1                                                          Case No. 19-11466 (MFW)

                              Debtors.                             (Jointly Administered)


    Broad Street Healthcare Properties, LLC, Broad
    Street Healthcare Properties II, LLC, Broad Street
                                                       U.S. District Court
    Healthcare Properties III, LLC, and Philadelphia
    Academic Health Holdings, LLC,                     Case No. 21-cv-01779-RGA
                                        Appellants,                Bankruptcy BAP No. 21-87
                              v.

    Center City Healthcare, LLC d/b/a Hahnemann                    Re: D.I. 25, 26, 28, 29, 30, 31, 32, 33, 34
    University Hospital,                                           & 35

                                        Appellee.

                                SIXTH STIPULATION REGARDING
                              EXTENSION OF BRIEFING DEADLINES

          Broad Street Healthcare Properties, LLC, Broad Street Healthcare Properties II, LLC,

Broad Street Healthcare Properties III, LLC (collectively, the “Broad Street Entities”), and

Philadelphia Academic Health Holdings, LLC (“PAHH” and, together with the Broad Street

Entities, the “Appellants”), the above-referenced debtors and debtors-in-possession (collectively,




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      The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification number, are:
      Center City Healthcare, LLC (3341), Philadelphia Academic Health System, LLC (8681), St. Christopher’s
      Healthcare, LLC (8395), Philadelphia Academic Medical Associates, LLC (8165), HPS of PA, L.L.C. (1617),
      SCHC Pediatric Associates, L.L.C. (0527), St. Christopher’s Pediatric Urgent Care Center, L.L.C. (6447), SCHC
      Pediatric Anesthesia Associates, L.L.C. (2326), StChris Care at Northeast Pediatrics, L.L.C. (4056), TPS of PA,
      L.L.C. (4862), TPS II of PA, L.L.C. (5534), TPS III of PA, L.L.C. (5536), TPS IV of PA, L.L.C. (5537), and TPS
      V of PA, L.L.C. (5540). The Debtors’ mailing address is 230 North Broad Street, Philadelphia, Pennsylvania
      19102.


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the “Debtors”), the Official Committee of Unsecured Creditors (the “Committee”), HSRE,2 the

MBNF Non-Debtor Entities,3 and Tenet4 (collectively, the “Parties”), enter into this stipulation

(the “Stipulation”) and hereby agree as follows:

                                                    RECITALS

         WHEREAS the recitals and agreement set forth in the Stipulation Regarding the Extension

of Briefing Deadlines and Withdrawal of Certain Sealed Documents [D.I. 25] (the “First

Stipulation”), the Stipulation Regarding Further Extension of Briefing Deadlines [D.I. 28] (the

“Second Stipulation”), the Third Stipulation Regarding Extension of Briefing Deadlines [D.I. 30]

(the “Third Stipulation”), the Fourth Stipulation Regarding Extension of Briefing Deadlines [D.I.

32] (the “Fourth Stipulation”), the Fifth Stipulation Regarding Extension of Briefing Deadlines

[D.I. 34] (the “Fifth Stipulation” and together with the First Stipulation, the Second Stipulation,

the Third Stipulation, and the Fourth Stipulation, the “Stipulations”) are incorporated herein by

reference;

         WHEREAS on February 14, 2022, this Court approved the First Stipulation [D.I. 26] (the

“First Approval Order”);

         WHEREAS on March 31, 2022, this Court approved the Second Stipulation [D.I. 29] (the

“Second Approval Order”);




2
    “HSRE” means, collectively, PAHH Bellet MOB, LLC; PAHH Broad Street MOB, LLC; PAHH Erie Street
    Garage, LLC; PAHH Feinstein MOB, LLC; PAHH New College MOB, LLC; PAHH Wood Street Garage, LLC;
    HSREP VI Holding, LLC; HSRE-PAHH IA, LLC; and HSRE-PAHH I, LLC.
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    “MBNF Non-Debtor Entities” means, collectively, Appellants, Joel Freedman, Stella Freedman, Svetlana
    Attestatova, Kyle Schmidt, MBNF Investments, LLC, American Academic Health System, LLC, Front Street
    Healthcare Properties, LLC, Front Street Healthcare Properties II, LLC, Philadelphia Academic Risk Retention
    Group, LLC, Paladin Healthcare Capital, LLC, Paladin Healthcare Management, LLC, and Globe Health
    Foundation, Inc.
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    “Tenet” means, collectively, Tenet Business Services Corporation and Conifer Revenue Cycle Solutions, LLC.

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         WHEREAS on April 29, 2022, this Court approved the Third Stipulation [D.I. 31] (the

“Third Approval Order”);

         WHEREAS on June 1, 2022, this Court approved the Fourth Stipulation [D.I. 33] (the

“Forth Approval Order”);

         WHEREAS on June 30, 2022, this Court approved the Fifth Stipulation [D.I. 35] (the

“Fifth Approval Order” and together with the First Approval Order, the Second Approval Order,

the Third Approval Order, and the Fourth Approval Order, the “Approval Orders”);

         WHEREAS pursuant to paragraph 1 of the First Stipulation (as amended by the Second

Stipulation, the Third Stipulation, the Fourth Stipulation and the Fifth Stipulation), any briefing or

filing obligation of any party in the above-captioned appeal (the “Appeal”) is stayed through July

31, 2022;

         WHEREAS since approval of the Fifth Stipulation, the Debtors, the Committee, HSRE,

and the MBNF Non-Debtor Entities have continued to engage in mediation before the Honorable

Kevin J. Carey (ret.), as mediator, with respect to certain disputes among such parties, including

disputes related to this Appeal (the “Chapter 11 Mediation”);

         WHEREAS since approval of the Fifth Stipulation, the Appellants, the MBNF Non-Debtor

Entities and Tenet have continued to engage in mediation before the Honorable Joseph J. Farnan

(ret.), as mediator, with respect to certain disputes among such parties, including disputes related

to this Appeal (the “Tenet Mediation” and, together with the Chapter 11 Mediation, the

“Mediations”);

         WHEREAS as a result of the Mediations, the Parties have reached an agreement in

principle on the vast majority of the disputed issues with respect to the disputes among them and

are working to reach agreement on the remaining issues and finalize the relevant documentation



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of such agreement, which would include resolution and settlement of this Appeal, and wish to

continue such Mediations;

         WHEREAS to maximize judicial efficiency and conserve resources of the Court and the

Parties, the Parties jointly propose to stay the above-captioned Appeal, including briefing on the

merits of the Appeal and all other filings in the Appeal, through and including August 31, 2022.

                                            AGREEMENT

         NOW, THEREFORE, in consideration of the foregoing, the Parties hereby agree and

stipulate as follows:

         1.        Paragraph 1 of the First Stipulation (as amended by the Second Stipulation, the

Third Stipulation, the Fourth Stipulation, and the Fifth Stipulation) is hereby further amended as

follows: “Until termination of the Mediation, any briefing or filing obligations of any party in this

Appeal stemming from the filing of the Notice of Appeal shall be stayed through and including

August 31, 2022.”

         2.        Except as expressly modified herein, the terms and conditions of the Stipulations

and the Approval Orders shall otherwise remain in full force and effect.



                              [Remainder of page intentionally left blank]




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Dated: July 28, 2022
       Wilmington, DE

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 Counsel for Tenet Business Services
 Corporation and Conifer Revenue Cycle
 Solutions, LLC



                          July
 SO ORDERED 28th day of __________, 2022.



                                             /s/ Richard G. Andrews
                                            The Honorable Richard G. Andrews
                                            United States District Court Judge




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